           Case 1:20-cv-03242-MKD                   ECF No. 23        filed 11/08/21       PageID.1070 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action

                                                                                                                FILED IN THE

                                         UNITED STATES DISTRICT COURT                                       U.S. DISTRICT COURT
                                                                                                      EASTERN DISTRICT OF WASHINGTON

                                                                  for the_
                                                     Eastern District of Washington                    Nov 08, 2021
                                                                                                              SEAN F. MCAVOY, CLERK

                         THERESA V.,
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:20-CV-3242-MKD
                                                                     )
                                                                     )
 Kilolo Kijakazi, Acting Commissioner of Social Security
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Stipulated Motion for Remand (ECF No. 20) is GRANTED. Matter is REVERSED and REMANDED to the
’
              Commissioner of Social Security for further administrative proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
              Plaintiff's Motion for Summary Judgment (ECF No. 16) is STRICKEN AS MOOT.
              Judgment entered for Plaintiff.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                                  MARY K. DIMKE                              on a stipulated motion for remand
      (ECF No. 20).


Date: November 8, 2021                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Melissa Orosco
                                                                                          (By) Deputy Clerk

                                                                            Melissa Orosco
